                   Case 2:22-cv-04820-KBH Document 2 Filed 01/03/23 Page 1 of 1
                                    UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
                                         ROBERT N.C. NIX BUILDING
                                           900 MARKET STREET
                                                SUITE 400
                                         PHILADELPHIA 19107-4299
Timothy B. McGrath                                                                                         Telephone
Clerk                                                                                                  (215) 408-2800
                                                   January 3, 2023

            Re:        Gabriel Bravo
                       Bankruptcy No.: 21-12926
                       Civil Action No.: 22-4820

Dear George Wylesol, Clerk of Court:

       We herewith transmit the following document(s) filed in the above matter(s), together with a copy of the
docket entries:

       () Certificate of appeal from order entered by the Honorable .
            Notice of appeal filing fee ()paid ()not paid

       (XX) Designation of Record on Appeal Filed                **Transcript of Zoom Hearing on Objection to Claim-
       () Designation of Record on Appeal Not Filed              Not part of Court Record.**
       () Supplemental certificate of appeal.

       () Motion for leave to appeal filed .
            () Answer to motion filed .

       () Proposed findings of fact and conclusions of law entered by the Honorable .
            () Objections filed .

       () Report and recommendation entered by the Honorable .

            () Objections filed .

       () Original record transferred to the District Court pursuant to the order of the Honorable .

       () Other:

       Kindly acknowledge receipt on the copy of the letter provided.

                                                For the Court

                                                Timothy B. McGrath
                                                Clerk

                                                By: Antoinette Stevenson
                                                Deputy Clerk


Received Above material or record tile this             day of                   , 20      .

Civil Action No.                                Signature:

Miscellaneous No.                               Date:

Assigned to Judge                                                                                      BFL5.frm(rev 11/8/17)
